Case 2:22-cv-14102-DMM Document 124 Entered on FLSD Docket 05/04/2022 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


   DONALD J. TRUMP,

                              Plaintiff,

                  v.
                                                               Case No. 2:22-cv-14102-DMM
   HILLARY R. CLINTON, et al.,

                              Defendants.


     DEFENDANT JOHN PODESTA’S MOTION TO DISMISS THE COMPLAINT AND
                   MEMORANDUM OF LAW IN SUPPORT

           Defendant John Podesta, by and through undersigned counsel, moves to dismiss Plaintiff’s

   claims against Defendant with prejudice. Defendant moves to dismiss on the grounds that

   Plaintiff’s claims are time-barred on the face of the complaint, and each of Plaintiff’s claims

   against Defendant fail on the merits.

                                              ARGUMENT

      I.      COUNTS II, IV AND VI OF THE COMPLAINT SHOULD BE DISMISSED
              BECAUSE THE STATUTE OF LIMITATIONS ON THESE CLAIMS HAS
              EXPIRED.

           Defendant John Podesta joins in and adopts the arguments in Section I of Defendant Hillary

   Rodham Clinton’s Motion to Dismiss (Dkt. 52) that Plaintiff’s claims are time-barred on the face

   of the Complaint and should therefore be dismissed. Dismissal on statute of limitations grounds

   is appropriate where it is apparent on the face of the complaint that Plaintiff’s claims are time-

   barred. La Grasta v. First Union Sec., Inc., 358 F.3d 840, 845-46 (11th Cir. 2004).

           As articulated in Section I of Defendant Hillary Rodham Clinton’s Motion to Dismiss,

   Plaintiff’s claims relate to events that occurred in 2016 and 2017, as such the statute of limitations
Case 2:22-cv-14102-DMM Document 124 Entered on FLSD Docket 05/04/2022 Page 2 of 7




   has long expired. Indeed, the factual allegations as to Defendant John Podesta relate to a meeting

   that occurred in 2017, statements made in October 2016, and social media posts in October 2017.

   Compl. ⁋⁋ 82, 191-92, 221. The allegations that Defendants conspired to (1) create the Steele

   Dossier, (2) obtain and reveal internet data of a connection between Trump Tower and Alfa Bank,

   (3) provide false statements to law enforcement, and (4) disseminate false and injurious

   information, are all alleged events that occurred over four years ago. Moreover, Plaintiff’s own

   Complaint and his tweets demonstrate that he has been aware of the purported injuries for years.

          The statute of limitations for conspiracy to commit RICO violations (Count II) is four years

   and runs from the date the injury was or should have been discovered. Lehman v. Lucom, 727

   F.3d 1326, 1330 (11th Cir. 2013). On October 29, 2017, Plaintiff tweeted about the same

   conspiracy which he now alleges in the Complaint.1 Plaintiff’s own statements reveal that he was

   aware of the alleged conspiracy and injury more than four years ago, therefore, his claim is time-

   barred and should be dismissed.

          The statute of limitations for conspiracy to commit injurious falsehood (Count IV) and

   conspiracy to commit malicious prosecution (Count VI) is four years from the date of the injury.

   King v. Bencie, 806 Fed. Appx. 873, 875 (11th Cir. 2020) (noting the statute of limitations for civil

   conspiracy is four years); Newberger v. U.S. Marshals Serv., 751 F.2d 1162, 1166 (11th Cir. 1985)

   (holding that actions for conspiracy in Florida are governed by a four-year statute of limitations).




   1
           “Never seen such Republican ANGER & UNITY as I have concerning the lack of
   investigation on Clinton made Fake Dossier (now $12,000,000?), the Uranium to Russia deal, the
   33,000 plus deleted Emails, the Comey fix and so much more. Instead they look at phony
   Trump/Russia, ‘collusion,’ which doesn't exist. The Dems are using this terrible (and bad for our
   country) Witch Hunt for evil politics, but the R’s are now fighting back like never before. There
   is so much GUILT by Democrats/Clinton, and now the facts are pouring out. DO SOMETHING!”
   Donald J. Trump (@realDonaldTrump), Twitter (Oct. 29, 2017), archived at The Trump Twitter
   Archive, thetrumparchive.com.
                                                    2
Case 2:22-cv-14102-DMM Document 124 Entered on FLSD Docket 05/04/2022 Page 3 of 7




   Plaintiff was aware of the alleged conspiracy on October 29, 2017, and Defendant’s tweets recited

   in the Complaint, mere public speech, occurred on October 31, 2017. Compl. ⁋ 221. It is clear

   from the face of the Complaint that Plaintiff’s claims expired by October 2021 and should therefore

   be dismissed.

       II.      COUNTS II, IV AND VI OF THE COMPLAINT SHOULD BE DISMISSED
                BECAUSE PLAINTIFF’S CLAIMS FAIL ON THE MERITS.

             Defendant John Podesta joins in and adopts the arguments in Sections II B through E of

   Defendant Hillary Rodham Clinton’s Motion to Dismiss (Dkt. 52) that Plaintiff’s claims fail on

   the merits and should therefore be dismissed.

             “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

   accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

   662, 678 (2009) (internal quotation marks omitted). “A claim has facial plausibility when the

   plaintiff pleads factual content that allows the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged.” Id. “Threadbare recitals of the elements of a cause

   of action, supported by mere conclusory statements, do not suffice.” Id. In making a fraud claim,

   “a party must state with particularity the circumstances constituting fraud or mistake.”

   Fed.R.Civ.P. 9(b). To satisfy the heightened pleading standard of Rule 9(b), a complaint must set

   forth:

             (1) precisely what statements were made in what documents or oral representations
             or what omissions were made, and (2) the time and place of each such statement
             and the person responsible for making (or, in the case of omissions, not making)
             same, and (3) the content of such statements and the manner in which they misled
             the plaintiff, and (4) what the defendants obtained as a consequence of the fraud.

   Garfield v. NDC Health Corp., 466 F.3d 1255, 1262 (11th Cir.2006).




                                                      3
Case 2:22-cv-14102-DMM Document 124 Entered on FLSD Docket 05/04/2022 Page 4 of 7




       A. Count II: RICO Conspiracy

          As articulated in Section II B of Defendant Hillary Rodham Clinton’s Motion to Dismiss,

   Plaintiff has failed to state a RICO conspiracy claim for which he is entitled relief. “In order to

   state a claim for civil RICO conspiracy, a plaintiff must allege an illegal agreement to violate a

   substantive provision of the RICO statute.” Super Vision Intern., Inc. v. Mega Intern. Commercial

   Bank Co., Ltd., 534 F. Supp. 2d 1326, 1342 (S.D. Fla. 2008) (internal quotation marks omitted).

   “A plaintiff can establish a RICO conspiracy claim in one of two ways: (1) by showing that the

   defendant agreed to the overall objective of the conspiracy; or (2) by showing that the defendant

   agreed to commit two predicate acts.” Republic of Panama v. BCCI Holdings (Luxembourg) S.A.,

   119 F.3d 935, 950 (11th Cir.1997).

          Plaintiff has not plausibly alleged sufficient facts regarding any purported agreement

   between Defendant John Podesta and other entities or persons to engage in the ongoing criminal

   conduct of an enterprise. In fact, the non-conclusory allegations as to Defendant are limited to

   discrete public statements and a single meeting. Compl. ⁋⁋ 82, 191-92, 221. The allegations

   concerning Defendant’s public statements are wholly irrelevant to establishing an agreement to

   engage in a RICO conspiracy. The allegation of a meeting between Defendant John Podesta and

   Glenn Simpson after the Steele Dossier was published to “compare notes on Russia meddling in

   the election” is not sufficient to establish any alleged illegal agreement to violate a substantive

   provision of the RICO statute. Compl. ⁋ 82. The alleged meeting occurred after the alleged

   conspiracy, and Plaintiff does not specifically allege the meeting was in any way connected to the

   conspiracy. Moreover, Defendant was himself a victim of Russian interference in the election. 2



   2
           See Jeff Stein, What 20,000 pages of hacked WikiLeaks emails teach us about Hillary
   Clinton, Vox, October 20, 2016, available at https://www.vox.com/policy-and-
   politics/2016/10/20/13308108/wikileaks-podesta-hillary-clinton
                                                   4
Case 2:22-cv-14102-DMM Document 124 Entered on FLSD Docket 05/04/2022 Page 5 of 7




   Defendant allegedly discussing Russian interference in the election is thus not only entirely

   innocuous but also irrelevant to establishing a conspiracy in this context. Plaintiff’s allegations of

   Defendant’s insignificant conduct, absent a plausibly-alleged “meeting of the minds,” fail to

   “nudge[ his] claims across the line from conceivable to plausible.” See Bell Atlantic Corp. v.

   Twombly, 550 U.S. 544, 557 (2007).

      B. Count IV: Conspiracy to Commit Injurious Falsehood

          As articulated in Section II C and D of Defendant Hillary Rodham Clinton’s Motion to

   Dismiss, Plaintiff has failed to state a claim for conspiracy to commit injurious falsehood because

   the statements identified in the Complaint are political speech protected by the First Amendment

   and the Complaint fails to allege sufficient facts to demonstrate any agreement between Defendant

   John Podesta and any other defendant to commit injurious falsehood. See Horsley v. Feldt, 304

   F.3d 1125, 1131 (11th Cir. 2002) (acknowledging that statements “may well include vehement,

   caustic, and sometimes unpleasantly sharp attacks,” but they are nevertheless “constitutionally

   protected and those who make them are exempt from liability for defamation if the attacks are

   simply ‘rhetorical hyperbole.’”); Alhassid v. Bank of Am., N.A., 60 F. Supp. 3d 1302, 1316 (S.D.

   Fla. 2014) (“To plead civil conspiracy, a plaintiff must allege (a) an agreement between two or

   more parties, (b) to do an unlawful act or to do a lawful act by unlawful means, (c) the doing of

   some overt act in pursuance of the conspiracy, and (d) damage to plaintiff as a result of the acts

   done under the conspiracy.” (internal quotation marks omitted)).

      C. Count VI: Conspiracy to Commit Malicious Prosecution

          As articulated in Section II E of Defendant Hillary Rodham Clinton’s Motion to Dismiss,

   Plaintiff has failed to state a claim for the tort of malicious prosecution. In order to state a claim

   for malicious prosecution, a plaintiff must allege “(1) a criminal prosecution instituted or continued



                                                     5
Case 2:22-cv-14102-DMM Document 124 Entered on FLSD Docket 05/04/2022 Page 6 of 7




   by the present defendant; (2) with malice and without probable cause; (3) that terminated in the

   plaintiff accused’s favor; and (4) caused damage to the plaintiff accused.” Paez v. Mulvey, 915

   F.3d 1276, 1285 (11th Cir. 2019). Plaintiff failed to identify any criminal proceeding that

   terminated in his favor. Plaintiff cannot plausibly allege a lack of probable cause for the Crossfire

   Hurricane investigation. 3 Moreover, Plaintiff fails to allege sufficient facts to demonstrate any

   agreement between Defendant John Podesta and any other defendant to commit malicious

   prosecution. This claim, along with the others, should be dismissed.

                                            CONCLUSION

          For the forgoing reasons, John Podesta respectfully requests that the Court dismiss

   Counts II, IV, and VI of Plaintiff’s Complaint with prejudice.


   Dated: May 4, 2022                                    Respectfully Submitted


                                                         /s/Robert P. Trout
                                                         Robert P. Trout *
                                                         Paola Pinto
                                                         SCHERTLER ONORATO MEAD & SEARS
                                                         555 13th Street, N.W.
                                                         Suite 500 West
                                                         Washington, D.C. 20004
                                                         Phone: (202) 628-4155

                                                        *Motion for admission pro hac vice pending


                                                        Attorneys for Defendant John Podesta




   3
           The U.S. Department of Justice Office of Inspector General found the Crossfire Hurricane
   investigation was opened “for an authorized purpose” and “with adequate factual predication.”
   U.S. Dep’t of Justice, Office of the Inspector General, Review of Four FISA Applications and
   Other Aspects of the FBI’s Crossfire Hurricane Investigation at 347 (2019), available at
   https://www.justice.gov/storage/120919-examination.pdf.
                                                    6
Case 2:22-cv-14102-DMM Document 124 Entered on FLSD Docket 05/04/2022 Page 7 of 7




                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 4, 2022, I caused to be filed electronically the foregoing

   Defendant John Podesta’s Motion to Dismiss the Complaint with the Clerk of the Court using the

   CM/ECF system which will send notification of such filing to all counsel of record on this matter

   who are on the CM/ECF system.

                                                       /s/ Robert P. Trout
                                                       Robert P. Trout




                                                  7
